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                             No. 23-3512
 In the United States Court of Appeals for the Sixth Circuit
                     ______________
   EMPLOYEES RETIREMENT SYSTEM OF THE CITY OF ST. LOUIS,
   Derivatively on behalf of FirstEnergy Corp.; ELECTRICAL WORKERS
PENSION FUND, LOCAL 103, I.B.E.W., Co-Lead Plaintiff - Case No. 2:20-cv-
  5128; MASSACHUSETTS LABORERS PENSION FUND, Derivatively on
Behalf of FirstEnergy Corp. Case No. 2:20-cv-5237; CITY OF PHILADELPHIA
 BOARD OF PENSIONS AND RETIREMENT; ROBERTA BLOOM; JOAN
         RANDELL; ARLENE POGOLOWITZ; JAMES ATHERTON
                              Plaintiffs-Appellees
                            TODD AUGENBAUM
                              Objector-Appellant
                                        v.
CHARLES E. JONES; MICHAEL J. ANDERSON; STEVEN J. DEMETRIOU;
  JULIA L. JOHNSON; DONALD T. MISHEFF; THOMAS N. MITCHELL;
JAMES F. O’NEIL, III; CHRISTOPHER D. PAPPAS; SANDRA PIANALTO;
 LUIS A. REYES; LESLIE M. TURNER; PAUL T. ADDISON; JERRY SUE
THORNTON; WILLIAM T. COTTLE; GEORGE M. SMART; JUSTIN BILTZ;
 MICHAEL DOWLING; JAMES F. PEARSON; STEVEN E. STRAH; K. JON
   TAYLOR; ROBERT P. REFFNER; EBONY YEBOAH-AMANKWAH;
             FIRSTENERGY CORPORATION; JOHN DOES, 1-50
                             Defendants-Appellees
                           ______________
  Appeal from the United States District Court, Southern District of Ohio
     at Columbus, Case No. 2:20-cv-04813, Hon. Algenon L. Marbley
                           ______________
       OPENING BRIEF OF APPELLANT TODD AUGENBAUM
                           ______________
W. B. MARKOVITS                           JEFFREY S. ABRAHAM
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             STATEMENT REGARDING ORAL ARGUMENT

      Appellant Todd Augenbaum requests oral argument.

                      STATEMENT OF JURISDICTION

      Jurisdiction is undisputed. The lower court found that the operative complaint

(Consolidated Complaint, R.75, PAGEID # 881-1003) states a plausible claim for

violation of Section 14(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), 15 U.S.C. §78n(a), in denying Defendants’ motion to dismiss. Opinion &

Order, R.93, PAGEID # 1280-1312. The lower court also found that it had

supplemental jurisdiction over the remaining claims, which are pled pursuant to

Ohio law and share a predicate with the federal claim. Opinion & Order, R.93,

PAGEID # 1302.

      The lower court entered judgment approving the Settlement and dismissing

the case on August 23, 2022. Final Judgment, R.196, PAGEID # 5074-5085.

Appellant filed a timely motion for reconsideration on September 20, 2022 (Motion,

R.197, PAGEID # 5086-5087) which was denied on May 22, 2023. Opinion &

Order, R.205, PAGEID #6147-6154. Appellant filed a timely notice of appeal on

June 15, 2023. Notice of Appeal, R.206, PAGEID # 6155-6156.

                             ISSUES PRESENTED
      1.    Whether this Court should apply the de novo standard to review the

District Court’s approval of the Settlement given that Judge Adams of the U.S.

District Court for the Northern District of Ohio (the “Northern District”), before

                                         1
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whom a parallel case was being simultaneously litigated, expressed specific

concerns and skepticism with respect to the timing and terms of the Settlement?

      2.     Whether the Parties were free to entirely circumvent obtaining approval

of the Settlement in the first-filed case asserting shareholder derivative claims on

behalf of FirstEnergy Corporation’s (“FirstEnergy” or the “Company”) which was

pending and being actively litigated before Judge Adams?

      3.     Whether the notice (the “Notice”) provided to FirstEnergy shareholders

of the Settlement satisfies the requirements of the Due Process clause of the U.S.

Constitution given its failure to explain that the headline number of $180 million of

insurance proceeds to the Company consists primarily of funds from policies that

would otherwise be available to (and almost certainly used by) the Company absent

settlement of the shareholder derivative claims?

      4.     Whether the settlement of FirstEnergy’s derivative claims is fair,

reasonable, and adequate in, among other things, releasing the Company’s non-

compensation related claims against several former executives terminated for

wrongdoing while allowing those fiduciaries to maintain claims against the

Company?

      5.     Whether, assuming the Settlement of FirstEnergy’s derivative claims is

fair, reasonable, and adequate, the attorneys’ fees granted by the Court were

excessive given the actual benefit to the Company?


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                         STATEMENT OF THE CASE

      A.    The Legislative Corruption Scandal

      FirstEnergy, led by then-Chief Executive Officer Charles E. Jones (“Jones”)

“implement[ed] a massive, years-long bribery, racketeering and pay-to-play scheme

to procure favorable legislation from the Ohio Speaker of the House, Larry

Householder (‘Householder’)” (the “Legislative Corruption Scandal”). Complaint,

R.75, PAGEID# 888, ¶1.1 The Legislative Corruption Scandal was “likely the largest

bribery, money laundering scheme ever perpetrated against the people of the state of

Ohio.” Complaint, R.75, PAGEID# 890-891, ¶7.

      On July 17, 2020, the U.S. Attorney for the Southern District of Ohio filed an

80-page criminal complaint with an FBI affidavit detailing the government’s

allegations against Householder and others. Id. It was immediately clear that

FirstEnergy was at the center of the Legislative Corruption Scandal and was referred

to as “Company A” in the criminal complaint. Id.

      B.    The First Shareholder Derivative Action is Filed in the Northern
            District of Ohio Followed by the Filing of Actions in the Southern
            District of Ohio

      On August 7, 2020, the first shareholder derivative action on behalf of

FirstEnergy relating to the Legislative Corruption Scandal was filed in the Northern

District. See Miller ex rel. FirstEnergy Corp. v. Anderson, 5:20-cv-01743 (N.D.



1
      General familiarity with the Legislative Corruption Scandal is assumed.

                                         3
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Ohio) (the “Northern District Action” or “Miller”), Complaint, R.1, PAGEID # 1-

32. On September 9, 2020, a related action was filed in the U.S. District Court for

the Southern District of Ohio. See Complaint, R.1, PAGEID # 1-124 (filed in

Employees Retirement Sys. of the City of St. Louis ex rel. FirstEnergy Corp. v. Jones,

2:20-cv-04813-ALM-KAJ (S.D. Ohio) (the “Southern District Action”)).

      On October 1, 2020, plaintiffs in the Southern District Action moved to

intervene in the Northern District for the purposes of transferring that action to the

Southern District. Miller, 5:20-cv-01743 (N.D. Ohio), Motion, R.17, PAGEID #

159-163. On October 30, 2020, Defendants filed a motion to dismiss the Northern

District Action. Miller, 5:20-cv-01743 (N.D. Ohio), Motion, R.44, PAGEID # 944-

947. On November 16, 2020, the Southern District consolidated the various

shareholder derivative actions filed in that Court and appointed co-lead counsel.

Opinion and Order, R.44, PAGEID # 688-708.

      C.     The Action is Litigated in Both the Southern District and the
             Northern District
      On December 21, 2020, Judge Marbley denied Defendants’ motion to stay the

Southern District Action in favor of the Northern District Action. Opinion & Order,

R.59, PAGEID # 792-800. On January 25, 2021, the Plaintiffs in the Southern

District Action filed an amended complaint alleging, among other things, that the

Company’s officers were “motivated to engage in the [Legislative Corruption

Scandal] because it increased the amount of their performance-based compensation


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tied to the achievement of certain FirstEnergy financial targets. Complaint, R.75,

PAGEID # 919-920, ¶81. On May 11, 2021, Judge Marbley denied motions to

dismiss filed in the Southern District Action. Emps. Ret. Sys. of City of St. Louis v.

Jones, 2021 WL 1890490 (S.D. Ohio May 11, 2021); see also Opinion & Order,

R.93, PAGEID # 1269-1312.

      On May 13, 2021, the Northern District granted the Southern District

plaintiffs’ intervention motion while denying their motion to transfer the case to the

Southern District, stating that:

      While it is not ideal that matters will apparently remain pending and
      active in both Districts, the Court is hopeful that permitting
      intervention in this matter will ensure that the arguments presented in
      both Districts will be united, thereby reducing any possibility of
      conflicting decisions.
Miller, 5:20-cv-01743 (N.D. Ohio), Opinion and decision, R.72, PAGEID # 1494.

On June 3, 2021, the Southern District plaintiffs filed a complaint-in-intervention in

the Northern District Action. Miller, 5:20-cv-01743 (N.D. Ohio), Intervenors’

Complaint, R.75, PAGEID # 1547-1672.

      On July 20, 2021, FirstEnergy entered into a deferred prosecution agreement

(“DPA”) with the U.S. Attorney for the Southern District of Ohio. In the DPA,

FirstEnergy admitted that it, “through the acts of its officers, employees, and agents,

conspired with public officials and entities to pay millions of dollars to and for the

benefit of public officials in exchange for specific official action for FirstEnergy



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Corp.’s    benefit.”     See      https://www.sec.gov/Archives/edgar/data/1031296/

000103129621000071/ex101-8k7x22x21.htm (cited in Objection to Settlement,

R.181, PAGEID # 4031, n.12). The DPA contains nearly 30 pages of facts that

FirstEnergy agreed would be proven beyond a reasonable doubt if the prosecution

moved forward. See Miller, 5:20-cv-01743 (N.D. Ohio), Order, R.290, PAGEID #

4024-4025; see also DPA at Attachment A (pp.15-46).

      On September 16, 2021, the Northen District denied Defendants’ motions to

dismiss and denied a motion to stay made by a special litigation committee (the

“SLC”) of the Company’s board of directors (the “Board”). Miller, 5:20-cv-01743

(N.D. Ohio), Opinion and Decision, R.117, PAGEID # 2131-2133. On November

16, 2021, at an in-person status conference, the Northern District Court informed the

parties that it “intend[ed] on moving this case in an expeditious way.” Miller, 5:20-

cv-01743 (N.D. Ohio), Transcript, R.166, PAGEID # 3115 at 3:10 (quoted at Miller,

5:20-cv-01743 (N.D. Ohio), Order, R.290, PAGEID # 4025). Judge Adams made

space in the federal courthouse available for depositions and Plaintiffs provided a

schedule of 22 depositions scheduled to begin on February 10, 2022. Miller, 5:20-

cv-01743 (N.D. Ohio), Order, R.290, PAGEID # 4025.

      The Parties never sought the assistance of this Court in requiring that the case

be litigated in a single District. In contrast, the SLC sought interlocutory review of




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the Orders denying its motion to temporarily stay the litigation. See Emps. Ret. Sys.

of City of St. Louis v. Jones, Docket No. 21-03993 (6th Cir.).

       D.     The Northern District Reacts Adversely to the Parties’ Efforts to
              Settle the Action Given the Incompleteness of Discovery

       On February 10, 2022 – the same day depositions were set to begin – instead

of moving forward with discovery, the Parties sought to stay proceedings in the

Northern District. Miller, 5:20-cv-01743 (N.D. Ohio), Joint Motion, R.273,

PAGEID # 3811-3821. Their joint motion to stay disclosed that all parties to the

Northern District Action, the Southern District Action, and a parallel state court

proceeding had reached an agreement in principle to settle each of the cases and

were negotiating the terms of a final agreement. Id., PAGEID # 3812-3814, ¶¶4, 7.

The Parties asked the Court to stay the Northern District Action while they moved

forward with the Settlement which would be approved by the Southern District

without requiring approval by the Northen District. Id., PAGEID # 3813-3814, ¶7.

       On February 11, 2023, the Northern District denied the motion to stay with

prejudice stating, inter alia, that:

       The parties have reached a proposed settlement agreement despite the
       following:

       ▪ incomplete written discovery
       ▪ no testimony under oath from any Defendant or other witness

       ▪ incomplete privilege logs detailing withheld documentation




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      ▪ an incomplete forensic examination to identify possible
      missing communications contained on Defendant Charles Jones’
      personal electronic devices and
      ▪ an inadequate period to review and analyze the documents that
      were provided.

Miller, 5:20-cv-01743 (N.D. Ohio), Opinion and Decision, R.274, PAGEID # 3904

(emphasis in original). Judge Adams also found that the parties “appear to engage in

forum shopping” by only seeking approval of their settlement in the Southern

District Action and ordered the parties to provide additional information with respect

to eleven specific factual inquiries by the Court. Id. at PAGEID # 3905-3907.

      E.     The Parties Fail to Respond to Judge Adams’ Concerns and,
             Instead, Engineer a Settlement Designed to be Binding on the
             Northern District Once Approved by the Southern District
      The parties refused to provide complete responses to Judge Adams’ inquiries,

largely claiming a mediation privilege. Miller, 5:20-cv-01743 (N.D. Ohio),

Plaintiffs’ Response to Order, R.276, PAGEID # 3911-3922; Miller, 5:20-cv-01743

(N.D. Ohio), Special Litigation Committee’s Response to Order, R.277, PAGEID #

3929-3933. On March 22, 2022, Judge Adams issued an Order finding that the

parties’ failure to respond to the Court’s inquiries based upon the assertion of various

testimonial privileges lacked merit and was unjustified. Miller, 5:20-cv-01743 (N.D.

Ohio), Order, R.290, PAGEID # 4022-4030. Judge Adams further ordered counsel

to provide the names of the individuals who paid the bribes and what fact discovery

has shown to date. Id. at PAGEID # 4030. The parties refused to provide the


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information sought by Judge Adams’ Order and on July 5, 2022, Judge Adams

denied a joint motion by the Parties to dismiss the Northern District Action noting

that principles of comity inherent in the first-to-file rule required that the Settlement

also be presented for approval to the Northern District and that one glaring omission

of the proposed settlement was the failure to obtain any compensation from

FirstEnergy’s senior executives who were highly compensated based upon the

Company’s bribery-enhanced performance and culpable in the Legislative

Corruption Scandal. Miller, 5:20-cv-01743 (N.D. Ohio), Order and Decision, R.331,

PAGEID # 4186-4190.

      On May 9, 2022, Judge Marbley approved a March 11, 2022, motion for

preliminary approval of the Settlement which expressly did not require approval by

the Northern District. [Proposed] Preliminary Approval Order, R.170-14, Page ID

# 2762-2770; Preliminary Approval Order, R.176, Page ID # 2853-2864. On May

16, 2022, a notice of settlement (the “Notice”) with respect to the Southern District

Action was published as an exhibit to a Form 8-K filed by FirstEnergy.2 The Notice

stated that the Settlement: (a) benefitted FirstEnergy by recovering $180 million

from insurance carriers; (b) initiated substantial corporate governance reforms; and

(c) contained a carve-out provision allowing FirstEnergy to continue to pursue



2
     See https://www.sec.gov/ix?doc=/Archives/edgar/data/0001031296/0001031
29622000023/fe-20220516.htm.

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claims against Charles Jones, Michael Dowling (“Dowling”), and Dennis Chack

(“Chack,” and with Jones and Dowling the “Terminated Executives”) – each of

whom was fired for violating FirstEnergy’s policies and code of conduct. The Notice

referred to https://firstenergyderivativesettlement.com, where more information

concerning the Settlement could be found.

      F.     The Settlement Proceedings in the Southern District Reveal a
             Previously Undisclosed Fact Concerning the Settlement’s True
             Monetary Benefit to FirstEnergy

      On July 7, 2022, Plaintiffs moved for final approval of the Settlement and for

attorneys’ fees in the Southern District. Settlement Approval Motion, R.179, Page

ID # 2870-2941. On July 21, 2022, Augenbaum objected to the Settlement, inter

alia, questioning whether the $180 million constituted a true benefit to the Company

because of the pendency of other claims against FirstEnergy covered by the same

insurance policies. Augenbaum’s Objection, R.181, Page ID # 4019-4035. Later that

day, the SLC filed a response objecting to Plaintiffs’ motion for approval claiming

the centerpiece of the Settlement was the corporate governance reforms which had

been primarily achieved by the SLC, such that the attorneys’ fees sought were too

high. SLC’s Objection, R.182, Page ID # 4057-4067. On July 28, 2022, Plaintiffs

disclosed for the first time in a footnote of their reply brief in support of settlement

approval that that the Settlement only includes “$72.28 million of insurance that

would not have otherwise been available to FirstEnergy.” Plaintiffs’ Reply, R.186,



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Page ID # 4113 at n.6. Prior to that time, Plaintiffs and FirstEnergy failed to state

either in the Notice or in their motion papers seeking approval of the Settlement that

$107,715,952.64 of the recovery would be available to resolve other pending claims

against the Company, including those made in In re FirstEnergy Corp. Sec. Litig.,

Case No. 20-cv-03785-ALM-KAJ (S.D. Ohio) (and all consolidated cases)

(collectively, the “Securities Fraud Action” or “SFA”). Id.

      G.     The Southern District Approves the Settlement Overruling
             Augenbaum’s Objections

      On August 4, 2022, the Southern District held a fairness hearing. 2:20-cv-

05876-ALM-KAJ, R.38, PAGEID # 1368-1464. On August 15, 2022, Judge Adams

announced that he intended to appoint Markovits, Stock & Demarco, LLC (“MSD”)

and Abraham, Fruchter & Twersky, LLC (“AFT”) as new co-lead counsel in the

Northern District Action based upon, inter alia, their representing Augenbaum in

objecting to the Settlement. Miller, 5:20-cv-01743 (N.D. Ohio), Order, R.345,

PAGEID # 4358-4360. On August 23, 2022, the Southern District approved the

Settlement over Augenbaum objections and addressed Judge Adams’ objection by

stating that the Settlement obtained a substantial recovery and held out the

opportunity for additional recovery from individual defendants. Order of Final

Settlement Approval, R.195, Page ID # 5049-5052. On August 24, 2022, the parties

to the Northern District Action jointly moved to dismiss that case with prejudice.

Miller, 5:20-cv-01743 (N.D. Ohio), Joint Motion, R.353, PAGEID # 4441-4463.


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      On September 20, 2022, Augenbaum moved for reconsideration of the

approval of the Settlement noting, among other things, that FirstEnergy’s recent

submissions made to the Northern District clarified that the Company believes the

Settlement extinguishes all breach of fiduciary claims against the Terminated

Executives and, instead, limits the Company to a clawback provision in an

agreement to which the Terminated Executives are not a party. See Augenbaum’s

Objection, R.197-1, Page ID # 5098-5099 (citing Miller, 5:20-cv-01743 (N.D.

Ohio), Opposition of SLC, R.359, PAGEID # 5012-5015). 3 Augenbaum explained

the disclosures in the Walker Declaration made the Southern District’s finding that

there existed a substantial likelihood of recovery from the Terminated Executives


3
       On September 8, 2022, Christine L. Walker (“Walker”), Senior Vice President
and Chief Human Resources Officer of FirstEnergy submitted a declaration (the
“Walker Declaration”) in the Northern District stating that any claim for recovery of
incentive compensation from the Terminated Executives is limited by Company’s
Executive Compensation Recoupment Policy (the “Recoupment Policy”) and does
not include any legal or equitable claim including those for the breach of fiduciary
duty claims asserted in this action. Miller, 5:20-cv-01743 (N.D. Ohio), Walker
Declaration, R.359-1, PAGEID # 5023-5027 (refiled as Declaration, Exhibits,
R.197-2, PAGEID # 5840-5849) at p.5. Walker stated that the Company has taken
the position that any amounts payable to Defendants Jones and Chack pursuant to
the FirstEnergy Amended and Restated Executive Deferred Compensation Plan (the
“EDCP”) will be set off against any claims the Company is making pursuant to the
Recoupment Policy. Walker Decl. ¶¶7, 11. Walker, however, failed to quantify the
amounts at issue under the EDCP or whether they are included in the $56 million of
incentive compensation previously reported to have been received by the Terminated
Executives. Walker also states that “the Company has the option to pursue recovery”
of the amounts due under the Recoupment Policy but fails to state whether any such
action has been commenced (id. ¶¶8, 12) and stating that a tolling agreement has
been entered into with Dowling. Id. at ¶9.

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mistaken. Augenbaum also challenged the adequacy of the Notice under the Due

Process clause of the U.S. Constitution. See Augenbaum’s Objection, R.197-1, Page

ID # 5093-5095. On May 22, 2023, the District Court denied Augenbaum’s motion

for reconsideration. Opinion & Order, R.205, PAGEID #6147-6154.

      H.     Other Relevant Developments
      On January 23, 2023, Householder’s criminal trial opened before Senior U.S.

District Judge Timothy S. Black. On March 9, 2023, Householder was sentenced to

twenty years in prison after being found guilty of violating the racketeering statute

through honest services wire fraud, receipt of millions of dollars in bribes and money

laundering. See USA v. Householder, Docket No. 1:20-cr-00077 (S.D. Ohio Jul 30,

2020).

      On March 30, 2023, Judge Marbley certified a class of investors pursuing

claims arising under Section 10(b) of the Securities Exchange Act of 1934 relating

to the failure to disclose the Bribery Scheme. See In re FirstEnergy Corp. Sec. Litig.,

Case No. 20-cv-03785-ALM-KAJ (S.D. Ohio), Class Certification Order, R.435,

PAGEID # 9781-9831. In seeking interlocutory review of the class certification

order, FirstEnergy stated that it was exposed to billions of dollars in potential

liability from the securities fraud class action. See In re: FirstEnergy Corporation,

Docket No. 23-00303, Petition for Leave to Appeal, R.1-2 (6th Cir. Apr. 14, 2023).




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                           SUMMARY OF ARGUMENT

      The shareholder derivative action brought on behalf of FirstEnergy was first

filed in the Northern District and simultaneously litigated in both the Northern

District and Southern Districts of Ohio. The Parties acted improperly by

purposefully avoiding the jurisdiction of the Northen District in seeking approval of

a proposed settlement (the “Settlement”), which, standing alone, serves as a

sufficient bases for vacating the terms of the Settlement. In addition, the concerns

Judge Adams raised with respect to the timing and terms of the Settlement allow this

Court to review the fairness of the Settlement on a de novo basis because any unique

insights into the facts of the case which motivated Judge Marbley’s approval of the

Settlement are negated by Judge Adams disapproval based upon, inter alia, the lack

of meaningful merits discovery and the failure to obtain any cash recovery directly

from seniors executives.

      The Southern District as well as FirstEnergy’s shareholders were sold a

fictitious bill of goods. The purported $180 million benefit to the Company is wildly

exaggerated with subsequent filings in response to Augenbaum’s objection

demonstrating that the maximum monetary benefit of the Settlement is, in fact,

$72.28 million. Similarly, the releases granted in the Settlement effectively slanted

the playing field in favor of former senior executives and directors, with the

Company sacrificing the high ground. These facts demonstrate the premises



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underlying the Southern District’s approval of the Settlement were mistaken and that

its award of attorneys’ fees was improperly inflated based upon the fictitious nature

of most of the purported benefit. Those belated disclosure also support vacating the

Settlement based upon its terms not having been properly disclosed in the Notice,

thereby violating the Due Process requirements of the U.S. Constitution.

                                   ARGUMENT

I.    THIS COURT SHOULD ANALYZE THE DISTRICT COURT’S
      APPROVAL OF THE SETTLEMENT UNDER A DE NOVO
      STANDARD

      The premise of the abuse of discretion standard as applied to factual

determinations including the reasonableness of a proposed settlement is that “[b]y

reason of settlement conferences and other pretrial activities, the district court may

have insights not conveyed by the record[.]” Pierce v. Underwood, 487 U.S. 552,

560 (1988); see also In re Dry Max Pampers Litig., 724 F.3d 713, 717 (6th Cir.

2013). Here, however, prior to the Southern District approving the Settlement, the

U.S. District Judge in the Northern District articulated on the record specific reasons

why he believed he would disapprove of the Settlement if it were presented to him

for review. See Argument §II, infra.

      This Appeal, therefore, represents the seemingly unique setting of two

separate U.S. District Court Judges disagreeing over whether the Settlement should

have been approved. This Court should not favor the insight of one U.S. District



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Court Judge over that of another U.S. District Court Judge and, as a result, should

apply a de novo standard to determining whether the Settlement is fair, reasonable

and adequate. The same de novo standard should apply to whether the Notice

satisfied the requirements of the Federal Rules of Civil Procedure and the

Constitution’s Due Process Clause, both of which involve an issue of law subject to

a de novo review. See, e.g., Fidel v. Farley, 534 F.3d 508, 513 (6th Cir. 2008).

II.   THE SETTLEMENT SHOULD BE VACATED BECAUSE THE
      PARTIES DELIBERATELY REFUSED TO SEEK APPROVAL FROM
      THE NORTHERN DISTRICT

      The first of these shareholder derivative actions brought on behalf of

FirstEnergy was filed in the Northern District. The action was also actively litigated

in the Northern District. Fed R. Civ. P. 23.1(c), therefore, required that Judge Adams

also be allowed to pass judgment as to whether the Settlement should be approved.

Miller, 5:20-cv-01743 (N.D. Ohio), Order and Decision, R.331, PAGEID # 4186-

4190. In addition, the first-filed rule also required that the action be presented for

settlement to Judge Adams especially given that the matter had been actively

litigated in the Northern District. Judge Adams succinctly and persuasively

explained why the parties’ effort to avoid his jurisdiction in seeking approval of the

Settlement should be rejected and Augenbaum respectfully refers this Court to that

July 5, 2022 Order and Decision (Miller, 5:20-cv-01743 (N.D. Ohio), Order and

Decision, R.331, PAGEID # 4186-4190) which states as follows:



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             Pending before the Court is the parties’ joint motion to dismiss
      these proceedings without prejudice while they seek approval of a
      settlement before the Southern District of Ohio in Case Number 2:20-
      cv-4813. For the reasons stated below, the motion is denied.

            Initially, the Court notes that Fed. R. Civ. P. 23.1(c) provides as
      follows:

             A derivative action may be settled, voluntarily dismissed,
             or compromised only with the court’s approval. Notice of
             a proposed settlement, voluntary dismissal, or
             compromise must be given to shareholders or members in
             the manner that the court orders.
      The parties have given no indication that notice was provided of their
      proposed dismissal to shareholders, nor did they propose any method
      of providing such notice. For that reason alone, the motion is denied.[4]
      However, there are additional reasons that support this Court’s
      conclusion that dismissal is inappropriate. In their motion, the parties
      note:

             To the extent there are questions about the adequacy or
             fairness of the Settlement, the proceeding in the Southern
             District Court provides the forum for such concerns to be
             raised and reviewed in an orderly process.
      Doc. 320-1 at 13. In so doing, they have yet again failed to explain why
      the Court should abandon the first-to-file rule. The Sixth Circuit has
      explained the rule as follows:

             The first-to-file rule is a well-established doctrine that
             encourages comity among federal courts of equal rank.
             The rule provides that when actions involving nearly
             identical parties and issues have been filed in two different
             district courts, the court in which the first suit was filed
             should generally proceed to judgment. The Sixth Circuit
             has referenced the rule without discussing it by name,

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      The parties suggest in a footnote that no notice should be required. However,
they offer no legal support for their conclusory assertion that the plain language of
Rule 23.1 should be ignored.

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             while other circuits have explicitly applied it. District
             courts have the discretion to dispense with the first-to-file
             rule where equity so demands. A plaintiff, even one who
             files first, does not have a right to bring a declaratory
             judgment action in the forum of his choosing. Factors that
             weigh against enforcement of the first-to-file rule include
             extraordinary circumstances, inequitable conduct, bad
             faith, anticipatory suits, and forum shopping.

      Zide Sport Shop of Ohio, Inc. v. Ed Tobergte Assocs., Inc., 16 F. App’x
      433, 437 (6th Cir. 2001)(citations and quotations omitted).

             In examining the reasons to discard the first-to-file rule, none are
      present in this litigation. There are no allegations of extraordinary
      circumstances, inequitable conduct, bad faith, or forum shopping as it
      relates to the matter before this Court. This matter was filed on August
      7, 2020, and the Southern District derivative action was later filed on
      September 9, 2020. The ancillary state court proceedings are also
      located in the Summit County Court of Common Pleas – here in the
      Northern District of Ohio. Moreover, Akron serves as the situs of
      FirstEnergy’s corporate headquarters. In other words, numerous factors
      beyond the file date support this District moving this matter forward to
      judgment. Instead, by all appearances, it is the parties seeking to have
      their settlement approved in the later-filed action that have engaged in
      forum shopping.[5]

              From this Court’s review, Plaintiffs were more than willing to
      litigate the matter before this Court when the undersigned mandated an
      expedited discovery schedule. When counsel for the shareholders was
      asked whether the mediation would include the Southern District of
      Ohio case, he responded: “Your Honor, the answer is yes and no. The
      mediation is independent of the Southern District or the Northern
      District. But it was always our intent to do this in connection with Your
      Honor, okay.” Doc. 235 at 29 (emphasis added). A review of the
      transcripts of proceedings before this Court reveals why the parties may
      desire to have their settlement reviewed by another District. In short,
5
       At times, the parties seem to have argued that by virtue of the Southern
District ruling on pretrial motions or overseeing other related securities actions that
it is appropriate for the matter to be resolved there. However, no part of that
reasoning provides a basis under existing law to dispense with the first-to-file rule.

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      this Court offered an honest assessment when the parties indicated a
      desire for early mediation. The Court indicated that it would be
      extraordinary if the parties could demonstrate that a settlement was fair
      and reasonable despite the following:

            ▪      incomplete written discovery

            ▪      no testimony under oath from any Defendant or other
                   witness
            ▪      incomplete    privilege        logs    detailing    withheld
                   documentation
            ▪      an incomplete forensic examination to identify possible
                   missing communications contained on Defendant Charles
                   Jones’ personal electronic devices and

            ▪      an inadequate period to review and analyze the documents
                   that were provided.

      It is apparent from the parties’ actions that the Court’s candor caused
      the parties to seek approval of their settlement from another District.
      Given that counsel is permitted under the settlement to seek up to
      $48,600,000 in attorney fees, it is hardly surprising that the parties
      would seek out what they believe to be a more favorable forum. 6
      The parties also appear to take issue with the Court’s expressed intent
      to appoint counsel if no existing counsel expresses a willingness to
      litigate this matter. In so doing, the parties again tout the size of their
      settlement asserting it to be one of the largest recoveries in a derivative
      action. In so doing, they ignore numerous key factors. First, as noted
      above, the recovery to FirstEnergy could be reduced by nearly $50
      million if counsel seeks the maximum permitted under the settlement.
      Second, the parties own evidence suggests that the recovery of roughly
      $150 million pales in comparison to the losses caused by the bribery
      scheme at issue. When evaluating the proposed corporate governance
      reforms, Professor Jeffrey Gordon noted that bribery scheme “led to a
6
       The Court notes that the Southern District has given no indication whatsoever
that it would be a more favorable forum. It is solely the fact that this Court has
expressed grave doubts about the process utilized by the parties that would give the
parties the belief that any other forum would be more favorable.

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       criminal investigation, a Deferred Prosecution Agreement, the payment
       of a $230 million fine, numerous civil suits and class actions, and the
       loss of an estimated over $1 billion in shareholder value when the
       federal indictment was announced.” Case No. 2:20CV4813, Doc. 170-
       5 at 11. In other words, a net recovery of $150 million would not only
       fail to cover the cost of solely the fine paid to the federal government,
       but it could also cover as little as 10% or less of the total loss caused by
       the bribery scheme.

              While touting that the settlement and its reforms will restore the
       public’s confidence in FirstEnergy, the parties ignore that the alleged
       wrongdoers will pay not a single cent to the settlement. Moreover, a
       recent audit by the Pennsylvania Public Utility Commission noted:
       “The Board elected not to use the contracted claw back provisions
       which could have recouped compensation paid during the years
       investigated.” Audit at 63, available at https://www.puc.pa.gov/
       pcdocs/1748700.pdf (last visited 6/30/2022). In other words, despite an
       ability to seek compensation from those that allegedly perpetrated and
       benefited from the bribery scheme, FirstEnergy has declined to do so.
       This is true despite the fact that Defendant Charles Jones alone received
       roughly $55,207,422 over the course of the scheme. As such, all those
       facts directly undermine the parties’ assertions about the enormity of
       their proposed settlement.
             More importantly, the parties have attempted to evade any
       review by this Court of their settlement. Given that the concerns
       expressed above are known to the Court solely through public sources
       and without any discovery in this matter, the Court will not dismiss this
       matter without reviewing any proposed settlement.

       IT IS SO ORDERED.
             [signature block omitted]

III.   THE NOTICE FAILED TO COMPLY WITH DUE PROCESS
       REQUIREMENTS THEREBY PRECLUDING THE SETTLEMENT’S
       APPROVAL

       The Federal Rules of Civil Procedure require that notice of a proposed

settlement of a shareholder derivative action be provided to shareholders. See Fed.


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R. Civ. P. 23.1(c). That requirement is grounded in the Due Process clause of the

U.S. Constitution. See, e.g., Mullane v. Central Hanover Bank & Trust Co., 339 U.S.

306, 314 (1950); Preliminary Approval Motion, R.170, PAGEID # 2430, 2458

(acknowledging notice must satisfy the requirements of Rule 23.1 and the

requirements of due process). The Notice was, therefore, required to provide

FirstEnergy shareholders with enough information to permit them to make a rational

decision whether to object or seek to intervene in the settlement-approval process.

See Wright, Miller & Kane, Federal Practice & Procedure: Civil 3d §1839 & n.14

(citing cases). Ordinarily great detail need not be provided if the information relevant

to a proposed settlement’s fairness is otherwise publicly and easily available. See,

e.g., Int’l Union, UAW v. Gen. Motors Corp., 497 F.3d 615, 630 (6th Cir. 2007).

      Here, however, the Notice failed that very easy and basic test by failing to

disclose that the purported $180 million settlement only consisted of “$72.28 million

of insurance that would not have otherwise been available to FirstEnergy.”

Plaintiffs’ Reply, R.186, Page ID # 4113 at n.6. This fact could not have been

discovered by any FirstEnergy shareholder prior to its initial public disclosure in

Plaintiffs’ July 28, 2022 reply filing with the Southern District. More importantly,

describing the Settlement as being worth $180 million when its terms deprived

FirstEnergy of more than $107 million in insurance coverage which would otherwise

be available to (and certainly used by) the Company is materially misleading. This


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is particularly true since the Securities Fraud Action has survived a dismissal motion

and presents the Company with potential liability of billions of dollars (see In re

FirstEnergy Corp. Sec. Litig., Case No. 20-cv-03785-ALM-KAJ (S.D. Ohio),

Amended Complaint, R.72, PAGEID # 1550, ¶13) with FirstEnergy stating “that it

is probable that it will incur a loss in connection with the resolution of” the Securities

Fraud Action. See Memorandum in Support of Reconsideration, R.197-1, PAGEID

# 5094, quoting SEC filing, R.197-2, PAGEID # 5935.

      The Notice also deceptively states that “[t]he Settlement does not release any

claims by the Company for recoupment of compensation from Defendants Jones,

Dowling, or Chack, including such claims that the Company is pursuing or may

pursue (which for avoidance of doubt Jones, Dowling, and Chack deny have any

basis and reserve their right to oppose and defend against on any and all grounds

available and to assert any related claims).” Notice at 13-14. 7 In truth and in fact, the

SLC is seeking to release the breach of fiduciary duty claims asserted by Plaintiffs

with prejudice and confine any claims which the Company has the “option” to bring

to those made pursuant to the Recoupment Policy. The SLC’s intent is further

evidenced by the parties seeking to obtain a release of all the breach of fiduciary

duty claims, including those asserted against the Terminated Executives, with




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      The Notice is available at https://firstenergyderivativesettlement.com/.

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prejudice. See Miller, 5:20-cv-01743 (N.D. Ohio), Joint Motion, R.353, PAGEID #

4441-4463 (seeking to dismiss the Northern District Action with prejudice).

        The SLC’s contention that the Notice was adequate because it was technically

correct in stating that the Settlement would result in Defendants’ insurers paying

$180 million to the Company (SLC’s Opposition to Reconsideration, R.199,

PAGEID # 6100) is in error because it is well-settled that even statements which are

literally true can be deceptive because of the failure to disclose material facts. See,

e.g., Set Cap. LLC v. Credit Suisse Grp. AG, 996 F.3d 64, 85 (2d Cir. 2021) (“[T]he

law is well settled that so-called ‘half-truths’ – literally true statements that create a

materially misleading impression – will support claims for securities fraud.”);

Bondali v. Yum! Brands, Inc., 620 F. App’x 483, 491-92 (6th Cir. 2015) (recognizing

courts “ask not only whether the statement is literally true but also whether the

statement creates an impression that is false by, for example, impliedly asserting an

objective fact that is false.”). Here, that principle is implicated by the Notice’s failure

to disclose that almost $108 million of the Settlement Fund being paid would likely

not benefit the Company because those payments reduced the insurance coverage

available to FirstEnergy to cover substantial likely liability on other cases given the

factual admissions of the DPA. See Objection to Settlement, R.181, PAGEID #

4029.




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      Due Process may not, as the SLC contends, require “perfect notice” (SLC’s

Opposition to Reconsideration, R.199, PAGEID # 6101), however, that did not give

the parties the right to deceive the Company’s shareholders through the failure to

disclose material facts which necessarily interfere in their ability to come to their

own conclusions about whether the Settlement was in the Company’s best interests.

See, e.g., Howell v. JBI, Inc., 298 F.R.D. 649, 661 (D. Nev. 2014) (rejecting a

proposed notice that inaccurately described attorneys’ fees to be sought and “fails to

notify the Class that any amount, let alone 12.3% of the total amount offered to settle

this case, will be used to pay administrative fees”).

      In re Polyurethane Foam Antitrust Litig., 168 F. Supp. 3d 985 (N.D. Ohio

2016), upon which the SLC relied below, is not to the contrary. In Polyurethane

$9.25 million, or 6.1% of the $151.25 million settlement, was contingent on the

outcome of separate litigation, although not disclosed in the notice, and that fact was

disclosed in the settlement agreement made available on a specially designated

website. Here, in contrast, the relevant information was not contained in the

Settlement Agreement or in any other place until first disclosed by Plaintiffs in a

footnote in their reply brief with the amount at issue being almost 60% of the

Settlement Fund. See, e.g., In re Katrina Canal Breaches Litig., 628 F.3d 185 (5th

Cir. 2010) (holding settlement notice failed to satisfy Due Process requirements

because of, inter alia, a failure to disclose information regarding a likely cy pres


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distribution). Notably, that reply was filed after the deadline to object to the

settlement, and there is no reason to believe it was seen by any of the Company’s

stockholders that are not party to this appeal.

      The SLC is also mistaken in contending that objections to the adequacy of the

Notice were forfeited by only being raised in seeking reconsideration of the Court’s

approval of the Settlement. SLC’s Opposition to Reconsideration, R.199, PAGEID

# 6099. That argument lacks merit because it ignores that the facts were only first

disclosed in a footnote in Plaintiffs’ reply brief after the deadline for filing objections

had passed – and 7 days before the fairness hearing – as confirmed by this Court

striking another FirstEnergy shareholder’s objection as having been untimely. See

Plaintiffs’ Reply in Support of Settlement, R.186, PAGEID # 4113 n.6; Order

Striking Objection, R.190, PAGEID # 4808-4810. Augenbaum, therefore, did not

have a reasonable opportunity to address the matter prior to the fairness hearing,

making the motion for reconsideration the first reasonable opportunity to address the

issue. See, e.g., Venters v. City of Delphi, 123 F.3d 956, 968 (7th Cir. 1997) (reply

filed on the eve of oral argument raising new issues “deprived [the opposing party]

of any reasonable opportunity to address that defense.”); cf. Nat’l Ecological Found.

v. Alexander, 496 F.3d 466, 477 (6th Cir. 2007). Moreover, forfeiture is particularly

inappropriate because the issue of Notice implicates Due Process concerns which, at




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least in the criminal context, cannot be intentionally waived. See, e.g.¸ Class v. U.S.,

138 S. Ct. 798, 807 (2018). 8

IV.   THE SETTLEMENT SHOULD NOT HAVE BEEN APPROVED

      The first factor relied upon by the Southern District in approving the

Settlement was a finding that there was no evidence of fraud or collusion. Order of

Final Settlement Approval, R.195, Page ID # 5055-5056. However, the belated

disclosure concerning only $72.28 million of the $180 million settlement fund being

attributable to insurance that would not otherwise have been available to FirstEnergy

– especially when combined with the concerted effort to avoid the jurisdiction of the

Northern District – calls that conclusion into question because the Company signing

on to that materially misleading presentation of the relevant facts relates directly to

the issue of attorneys’ fees.

      Indeed, it is well-recognized that a risk exists in shareholder derivative

litigation that “the lawyers might urge a [] settlement at a low figure or on a less-

than-optimal basis in exchange for red-carpet treatment on fees.” In re Dry Max



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      Defendants separately contend that Augenbaum has waived any argument
with respect to the adequacy of the Notice. Opposition to Reconsideration, R.198,
PAGEID # 6081. Waiver exists only where there is an “intentional relinquishment
or abandonment of a known right.” U.S. v. Olano, 507 U.S. 725, 733 (1993). Here,
Augenbaum did not intentionally abandon a challenge to the Notice meaning no
waiver occurred. In fact, Augenbaum could not have waived a challenge to the lack
of complete disclosure by objecting to the fact that the disclosure appeared
incomplete.

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Pampers Litig., 724 F.3d at 718 (citations omitted). Traditionally that risk arises

from the overvaluation of the benefit of corporate governance reforms. See, e.g.,

Staton v. Boeing Co., 327 F.3d 938, 974 (9th Cir. 2003) (“Precisely because the value

of injunctive relief is difficult to quantify, its value is also easily manipulable by

overreaching lawyers seeking to increase the value assigned to a common fund.”).

The same rationale supports extending the concept of collusion to exaggerating the

monetary benefits of a proposed settlement where it is understood that the purported

size of the monetary recovery serves as the basis for an attorney fee award.

      Here, precisely such evidence of collusion exists with respect to claiming that

the Settlement achieved a $180 million recovery given this Court’s history in

awarding fees based upon a percentage of the stated recovery. See, e.g., Settlement

Approval Motion, R.179, Page ID # 2926 (recognizing a percentage of the fund

approach is the preferred method for awarding attorneys’ fees in the Sixth Circuit

and citing Rikos v. Proctor & Gamble Co., 2018 WL 2009681, at *8 (S.D. Ohio Apr.

30, 2018), quoting Connectivity Sys. Inc. v. Nat’l City Bank, 2011 WL 292008, at

*13 (S.D. Ohio Jan. 26, 2011), and Rudi v. Wexner, 2022 WL 1682297, at *4 (S.D.

Ohio May 16, 2022)). Any questionable feature of the fee provision, including

exaggerating the amount of the common fund, requires greater scrutiny to ensure

that it did not cause Plaintiffs’ counsel to betray the interests of the representative




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party on whose behalf the claim was being pursued. See, e.g., In re Bluetooth

Headset Products Liability Litig., 654 F.3d 935, 949 (9th Cir. 2011).9

      Plaintiffs’ counsel, knowing that a large fee representing a very generous

multiple to reported time (without evidence of Plaintiffs exercising billing discretion

concerning potential duplicate billing created by effectively the same case pending

in three separate jurisdictions) was available, had every incentive to take the path of

least resistance for the highest possible attorneys’ fees rather than do the additional

heavy lifting of pursuing disputed discovery issues and taking depositions. See

Miller, 5:20-cv-01743 (N.D. Ohio), Opinion and Decision, R.274, PAGEID # 3904-

3907; accord Order of Final Settlement Approval, R.195, Page ID # 5057

(recognizing that “more discovery would have been desirable”). This includes, for

example, looking the other way with respect to the release of claims against

defendant Strah, then FirstEnergy’s CEO, even as defendant Jones was pointing the

finger at him in the Securities Fraud Action and the Office of the Ohio Consumer’s



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       The same is true with respect to each of the Plaintiffs seeking an incentive fee
award of $10,000. See Settlement Approval Motion, R.179, Page ID # 2936-2937.
Accepting such a preferential payment “provide[s] a disincentive” for Plaintiffs “to
care about the adequacy of the relief afforded” and, instead, encouraged them “to
compromise the interest of the class for personal gain.” Dry Max Pampers, 724 F.3d
at 722; see also In re UnumProvident Corp. Deriv. Litig., 2010 WL 289179, at *10
(E.D. Tenn. Jan. 20, 2010) (disapproving incentive award to plaintiff in a
shareholder derivative action because “the possibility of incentive awards could put
named plaintiffs in a different position than the rest of the shareholders and could
interfere with their ability to judge the settlement’s fairness.”).

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Counsel (the “OCC”) was doing the same in In the Matter of the Ohio Edison

Company, the Cleveland Electric Illuminating Company, and the Toledo Edison

Company’s Compliance with R.C. 4928.17 and the Ohio Adm. Code Chapter

4901:1-37, Case No. 17-974-EL-UNC (before the Public Utilities Commission of

Ohio (“PUCO”)) (the “Ratepayer Action”). See Memorandum in Support of

Reconsideration, R.197-1, PAGEID # 5091-5093.

      Similarly, although shareholder derivative actions are undoubtedly complex

(see Order of Final Settlement Approval, R.195, Page ID # 5056), that does not mean

that each aspect of the case is complex. Thus, for example, proving the facts related

to Strah’s knowledge or derogation of his duties as then-CFO – as Jones ironically

seems to be attempting to do in the Securities Fraud Action and the OCC is doing in

the Ratepayer Action – is not complex but, instead, within the wheelhouse of almost

every lawyer litigating cases with disputed issues of fact. Learning the truth

concerning the involvement of Strah and other former FirstEnergy officers and

directors also implicates the public interest (see Order of Final Settlement Approval,

R.195, Page ID # 5060) as well as FirstEnergy’s interest in not having a CEO directly

implicated in the wrongful conduct at issue in this action lead the Company, as Strah

was doing at the time of Settlement.

      The amount of discovery (Order of Final Settlement Approval, R.195, Page

ID # 5056-5057) is, therefore, plainly lacking, at the time of Settlement, which could


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be explained by the prospect of a lucrative attorney fee award, which in this case

amounted to $36 million, representing a 3.54 multiple of purported lodestar. Order

of Final Settlement Approval, R.195, Page ID # 5061. That the SLC sought to limit

the attorney fee award to $27 million (SLC’s Objection, R.182, Page ID # 4057-

4067) matters little given that also represents a very lucrative attorney fee award

based upon a reported total lodestar of $11.36 million (Settlement Approval Motion,

R.179, Page ID # 2933) with the Record showing no de-duplication of effort across

multiple cases in three separate jurisdictions.

      These are concerns that cannot be washed away through the presence of an

independent mediator declaring that the mediation process was “hard fought.” Order

of Final Settlement Approval, R.195, Page ID # 5056 (quoting Declaration, R.179-

5, PAGEID # 3079, ¶12). Instead, the paragraph of the Phillips Declaration quoted

by the Southern District Court is so vague and lacking in detail as to make it a mere

boilerplate representation entitled to no meaningful weight. Indeed, a proposed

settlement of a shareholder derivative action negotiated utilizing the very same

mediator through a process that was also represented to have been “hard fought” was

very recently rejected another U.S. District Court Judge as “inadequate.” See

Exhibits, R.197-2, PAGEID # 6044-6045, 6076-6079.




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V.    NEWLY REVEALED FACTS FURTHER DEMONSTRATE THAT
      THE SETTLEMENT SHOULD NOT HAVE BEEN APPROVED
      Proceedings in the Securities Fraud Action and the Ratepayer Action involved

discovery largely conducted outside of public view. However, the limited discovery

which has emerged through random motions to compel in those actions as well as

through filings in the Northern District Action demonstrate that the Southern District

was sold a bill of goods in the Settlement approval process failing to reveal material

facts relevant to the Court’s analysis. Those facts demonstrate that the Settlement –

which includes a broad release of claims – should have been rejected.

      A.     The Court’s Finding of Another Potential Major Recovery from
             the Terminated Executives is Inconsistent with Facts the SLC
             Belatedly Disclosed
      Counts II and III of the operative complaint sought to recover the Officer

Defendants’ compensation and other damages the Officer Defendants caused the

Company pursuant to the Company’s well-pled equitable claims for breaches of

fiduciary duties and for unjust enrichment. See Consolidated Complaint, R.75,

PAGEID # 996-997 & 1001, ¶¶312-22 & Prayer F-G (seeking restitution and

disgorgement of all compensation all Defendants obtained from FirstEnergy). Jones

and Dowling are “Officer Defendants” (id. ¶40.) while Chack is named as an Officer

Defendant in the Northern District Action (see Miller, 5:20-cv-01743 (N.D. Ohio),

Intervenors’ Complaint, R.75, PAGEID # 1569, 1572 at ¶¶35, 42) causing the

Settlement to implicate claims brought against Chack as well.


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      The Southern District opined that, post-settlement, “a second major recovery

source — the compensation paid to Defendants Jones, Dowling, and Check —

remains available for the Company to pursue via salary clawback claims.” Order of

Final Settlement Approval, R.195, Page ID # 5050. However, it is now clear based

upon the Walker Declaration that the Company has no intention of pursuing any

claims for breach of fiduciary duty against the Terminated Executives as the form of

Order submitted to the Northern District was with prejudice as to all claims asserted

in this action. Miller, 5:20-cv-01743 (N.D. Ohio), [Proposed] Order, R.353-3,

PAGEID # 4508. Moving to dismiss claims with prejudice is antithetical to any

future prosecution of those claims. In addition, the Walker Declaration disclosed that

FirstEnergy is foregoing prosecuting potential claims while limiting any potential

recovery to the Recoupment Policy which the Company is defensively seeking to

offset against claims the Terminated Executives might have received pursuant to the

EDCP. Augenbaum’s issue, to be clear, includes that the Terminated Executives

retained any claims against FirstEnergy after causing the Company billions of

dollars in damages while the Company handcuffed itself, limiting its claims against

the Terminated Executives.

      Also, left unsaid by the SLC (or any party) in prior submissions to the Court

is that the claims are, in fact, not being actively pursued by the Company, with

FirstEnergy only retaining the “option” to pursue the claims and seemingly only


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seeking the EDCP benefits. The amount of those EDCP benefits and whether those

amounts were included in the $56 million of incentive compensation subject to

disgorgement are unknown based upon the record the SLC (and Plaintiffs) have

placed before this Court. In other words, it is highly doubtful that there will be any

second major recovery from the Recoupment Policy claims which the Company may

or may not pursue, and which the Company is seeking to have dismissed with

prejudice.

      B.      The Parties’ Failed to Inform This Court of Facts Relevant to the
              Claims Asserted Against Strah Released in the Settlement
      Plaintiffs contended the release of claims is justified because of the difficulty

of proceeding with oversight claims, a position which the Southern District

ultimately adopted. See Settlement Approval Motion, R.179, Page ID # 2917, 2921-

22; Order of Final Settlement Approval, R.195, Page ID # 5057-5058. The SLC

remained silent on the issues limiting its objection to the attorneys’ fees sought by

Plaintiffs’ counsel. See SLC’s Objection, R.182, Page ID # 4057-4067.

      That analysis, however, was clearly flawed as it relates to the claims asserted

against Strah who was the Company’s CFO at the time of the relevant wrongdoing

and its CEO at the time of the Settlement. In addition, the emails later made public

by the OCC in the Ratepayer Case are sufficiently damning to evidence Strah’s

knowledge of and participation in at least some of the same conduct which is the

subject of the DPA. See News Article, R.197-2, PAGEID # 5128-5137. At the same


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time, Jones is pointing his finger directly at Strah and suggesting that Strah was

informed of even more of the underlying conduct which is the subject of the DPA.

In re FirstEnergy Corp. Sec. Litig., Case No. 20-cv-03785-ALM-KAJ (S.D. Ohio),

Motion to Compen, R.319, PAGEID # 6786-6810; In re FirstEnergy Corp. Sec.

Litig., Case No. 20-cv-03785-ALM-KAJ (S.D. Ohio), Opinion and Order, R.333,

PAGEID # 7122-7131. Strah’s abrupt decision to “retire” and the Company’s

decision not to make any severance payments to Strah (News Article, R.197-2,

PAGEID # 5139-5146) further suggest Strah’s culpability in this Action is real.

      Nonetheless, the Settlement effectively gives Strah a free pass. Thus, although

Strah may have relinquished his rights to certain severance payments, he still gets to

keep all his past incentive payments and not to have account for any damages his

actions caused FirstEnergy. This despite the claims against Strah not being ones for

oversight but, instead, for direct collusion in the wrongful conduct and do not

involve “possibly the most difficult theory in corporation law upon which a plaintiff

might hope to win a judgment.” Order of Final Settlement Approval, R.195, Page

ID # 5058 (quoting In re Caremark Int’l Inc. Derivative Litig., 698 A.2d 959, 967

(Del. Ch. 1996)).

VI.   ANY ATTORNEYS’ FEES AWARDED SHOULD BE REDUCED TO
      REFLECT THE ACTUAL BENEFITS ACHIEVED

      Requests for attorneys’ fees are evaluated using the six factors set forth in

Ramey v. Cincinnati Enquirer, Inc., 508 F.2d 1188, 1196 (6th Cir. 1974). The first


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Ramey factor, “the value of the benefit rendered to the corporation or its

stockholders,” is “widely regard” as being “the most important” of the Ramey

factors. In re Cardinal Health Inc. Sec. Litig., 528 F. Supp. 2d 752, 764 (S.D. Ohio

2007).

      Here, the benefit to FirstEnergy consists of two components. The first

component is corporate governance reforms primarily achieved by the SLC. See

p.13, supra (citing SLC’s Objection, R.182, Page ID # 4057-4067). The second

component is the inflated headline number. See p.13, supra (citing Plaintiffs’ Reply,

R.186, Page ID # 4113 at n.6). As a result, the financial benefit to the Company

from the Settlement as approved has not been shown – assuming arguendo that

Plaintiffs’ statement in their reply brief is sufficient to support any showing – to be

any more than $72.28 million. It is also unclear whether even that amount can be

considered a true benefit or simply the insurance carrier paying the defense costs

consistent with its contractual obligations. The Southern District Court fixed 20% of

the benefit as a reasonable fee in this action. See Order of Final Settlement Approval,

R.195, Page ID # 5068. As a result, the attorneys’ fees should be reduced to no more

than $14,456,809.47 (20% of $72,284,047.36) rather than the $36 million previously

awarded – a difference of more than $21,500,000.00 – even assuming arguendo that

this Court does not vacate the approval of the Settlement on the merits.




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                                 CONCLUSION

      Therefore, for all the reasons stated above, this Court should vacate approval

of the Settlement or, alternatively, remand this case with the instructions to the

District Court to engage in a more thorough analysis of the actual monetary benefits

of the Settlement.

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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because this brief contains 8,755 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

      This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

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been prepared in a proportionally spaced typeface using Word in 14-point Times

New Roman.

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                           CERTIFICATE OF SERVICE

      I certify that on this the 14th day of September, 2023, pursuant to 6 Cir. R.

25, I caused the foregoing to be served electronically on all counsel of record

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  DESIGNATION OF RELEVANT DISTRICT COURT DOCUMENTS

R No.     Description                                                PAGEID #
38        Transcript of Fairness Hearing                             1368-1464
          (docketed in 2:20-cv-05876-ALM-KAJ)
59        Opinion & Order                                            792-800
75        Consolidated Verified Shareholder Derivative Complaint     881-1003
93        Opinion & Order                                            1280-1312
170       Preliminary Approval Motion                                2426-2463
179       Plaintiffs’ Motion for Final Approval of Settlement, an    2870-2941
          Award of Attorneys’ Fees and Expenses, and Plaintiff
          Service Awards
179-1 –   Transmittal Declaration of John C. Camillus (with          2942-4015
179-40    Exhibits)
181 –     Todd Augenbaum’s Objection to the Proposed Settlement      4019-4056
181-4     (with exhibits)
182       Objection of the Special Litigation Committee of the       4057-4067
          Board of Directors of Nominal Defendant FirstEnergy
          Corp. (the “SLC”) to Plaintiffs’ Motion for Award of
          Attorneys’ Fees
185       Response of the SLC to Todd Augenbaum’s Objection to       4092-4096
          the Proposed Settlement
186       Plaintiffs’ Reply in Further Support of Their Motion for   4097-4132
          Final Approval of Settlement, an Award of Attorneys’
          Fees and Expenses, and Plaintiff Service Awards
190       Order Striking Objection                                   4808-4810
195       Order of Final Settlement Approval                         5044-5073
196       Final Judgment Approving Settlement and Order of           5074-5085
          Dismissal
197       Todd Augenbaum’s Motion for Reconsideration                5086-5087
197-1     Memorandum of Law in Support of Todd Augenbaum’s           5088-5102
          Motion for Reconsideration
197-2     Declaration of W.B. Markovits in Support of Todd           5103-6079
          Augenbaum’s Motion for Reconsideration (with Exhibits)
198       Defendants’ Opposition to Objector Augenbaum’s             6080-6091
          Motion for Reconsideration
199       Opposition of the SLC to Todd Augenbaum’s Motion for       6092-6109
          Reconsideration



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R No.   Description                                                PAGEID #
200     Plaintiff’s Response in Opposition to Todd Augenbaum’s     6110-6128
        Motion for Reconsideration of the Court’s Order of Final
        Settlement Approval and Final Judgment
201     Reply Memorandum in Support of Todd Augenbaum’s            6129-6140
        Motion for Reconsideration
205     Opinion & Order                                            6147-6154
206     Notice of Appeal                                           6155-6156




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